Case 1:04-bk-05604-MDF   Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 1 of 28
Case 1:04-bk-05604-MDF   Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 2 of 28
Case 1:04-bk-05604-MDF   Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 3 of 28
Case 1:04-bk-05604-MDF   Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 4 of 28
Case 1:04-bk-05604-MDF   Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 5 of 28
Case 1:04-bk-05604-MDF   Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 6 of 28
Case 1:04-bk-05604-MDF   Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 7 of 28
Case 1:04-bk-05604-MDF   Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 8 of 28
Case 1:04-bk-05604-MDF   Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 9 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 10 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 11 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 12 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 13 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 14 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 15 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 16 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 17 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 18 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 19 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 20 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 21 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 22 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 23 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 24 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 25 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 26 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 27 of 28
Case 1:04-bk-05604-MDF    Doc 1 Filed 09/16/04 Entered 09/16/04 11:37:51   Desc
                         Main Document    Page 28 of 28
